Case 25-10096 Doc26 Filed 03/19/25 Entered 03/19/25 13:33:37 Desc Main
Document Pageiofi

UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

In re: Brian A. Tanguy Ch. 7

25-10096-JEB
Debtor

Order

MATTER:

#21 Motion filed by Debtor Brian A. Tanguy to Avoid Judicial Lien of Jason & Casey Sullivan, Foley
Electric LLC, Kerri & Brian Strout and Richard Eames & Kristin Lima

The Motion fails to include evidence of the value of the Debtor's interest in the property. The Debtor
shall, by March 21, 2025, file evidence of the value of the Debtor's interest in the property, together with
a cover page that includes the case caption and a description that reflects the document is a supplement to
the Motion.

The Debtor shall, by March 21, 2025: (1) serve the supplement together with the Motion (even if
previously served), in accordance with Rule 7004, on Jason and Casey Sullivan, Foley Electric LLC,
Kerri & Brian Strout, and Richard Eames & Kristin Lima; (2) serve a copy of the supplement on any
other parties entitled to notice by regular mail; and (3) file a certificate of such service. If the Debtor fails
to file or serve the supplement and the Motion, or to file a certificate of service, the Court will take such
action as is appropriate which may include denying the Motion without prejudice.

Dated: 03/19/2025 By the Court,

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Janet E. Bostwick
United States Bankruptcy Judge
